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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MATTEL, INC.,                                               :

                                            Plaintiff,      :

                     -against-                              :    20 Civ. 10684 (NRB)

STICKIT GRAPHIX, THE ENTITIES                               :
DOING BUSINESS ON AMAZON.COM
UNDER THE BRAND NAME STICKIT                                :
GRAPHIX, THE ENTITIES DOING
BUSINESS ON AMAZON.COM UNDER                                 :
THE STORE NAME SUNNY SUPER,
THE ENTITIES DOING BUSINESS ON                              :
AMAZON.COM UNDER THE ENTITY
NAME HEBEI PENGZE JIAYUE STEEL                              :
SALES CO., LTD., JOHN DOE NOS.
1-5, AND ABC ENTITY NOS. 1-5,                               :

                                        Defendants.          :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                ORDER OF ATTACHMENT AND PRELIMINARY INJUNCTION

          Upon the application of plaintiff Mattel, Inc. (“Mattel”), for an order to show cause

and a temporary restraining order on December 18, 2020 (Dkt. 18), the order to show cause

and temporary restraining order that the Court entered on December 18, 2020 (Dkt. 17), the

$5,000 cash that Mattel posted as security for the temporary restraining order (Dkt. January

4, 2021), and the service of the order on Amazon.com, Inc. and Defendants in substantial

conformity with its terms (See Dkt. 19 and Dkt. 5, ¶ 3), the Court makes the following

findings of fact and conclusions of law pursuant to Rules 64 and 65 of the Federal Rules of

Civil Procedure and New York CPLR § 6210.

          1.        This is an action for money damages.
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        2.      Mattel has demonstrated a likelihood of success on the merits of its claims for

trademark infringement and trademark counterfeiting against Defendants.

        3.      Defendants are not domiciled in this State.

        4.      Defendants have not filed any counterclaim.

        5.      The Court has personal jurisdiction over the Defendants pursuant to New

York CPLR § 302(a)(1), because Mattel’s claims arise out of Defendants’ sales, or contracts

for sales, into this State.

        6.      An order of attachment is an appropriate exercise of the Court’s discretion, as

it is necessary to ensure that any judgment Mattel obtains in this action against Defendants is

satisfied.

        7.      Counsel for Mattel has represented that Amazon has disclosed that pursuant to

the temporary restraining order entered herein on December 18, 2020, it has frozen accounts

of Defendants containing $2,038.48.

        And it is therefore

        ORDERED that, pursuant to Rules 64 and 65 of the Federal Rules of Civil Procedure

and New York CPLR §§ 6201 and 6210, the aforesaid funds of Defendants at Amazon.com,

Inc. be, and hereby are, attached; and it is further

        ORDERED that Defendants, their officers, agents, servants, employees, and

attorneys, all persons in active concert or participation with any of them who receive actual

notice of this order, be, and hereby are, PRELIMINARILY ENJOINED from transferring,

withdrawing or accepting any funds from any account of Defendants at Amazon.com, Inc.

pending further order of the Court; and it is further




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       ORDERED that the $5,000 cash that Mattel has posted with the Clerk of the

Court shall continue to remain as security for the preliminary injunction entered herein.

Dated: New York, New York
       January 11, 2021
       Issued at 12:00 PM




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